                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                       DOCKET NO. 3:16-cr-00074-MOC-DSC


 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
 v.                                             )                  ORDER
                                                )
 JERITON LAVAR CURRY,                           )
                                                )
                Defendant.                      )




        THIS MATTER is before the court on the defendant’s pro se Motion to Reconsider

and Motion for Extension to Submit Medical Inquiry (#224). Having considered

defendant’s motion and reviewed the pleadings, the court enters the following Order.

                                              ORDER

        IT IS, THEREFORE, ORDERED that defendant’s pro se Motion to Reconsider

and Motion for Extension to Submit Medical Inquiry (#224) is summarily DENIED,

without prejudice, as defendant is presently represented by counsel.


                    Signed: April 12, 2017




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